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                        EXHIBIT 9
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                                   Framework For Subsistence Claims

A.       Eligibility

         1.       Only claimants who satisfy the “Subsistence Claimant” definition shall be
                  eligible for compensation pursuant to this Framework for Subsistence Claims.

         2.       “Subsistence Claimant” shall be defined as follows: (i) a Natural Person who
                  satisfies the Class Definition, (ii) who fishes or hunts to harvest, catch, barter,
                  consume or trade Gulf of Mexico natural resources (including Seafood and
                  Game1), in a traditional or customary manner, to sustain his or her basic personal
                  or family dietary, economic security, shelter, tool, or clothing needs2, and (iii)who
                  relied upon subsistence resources that were diminished or restricted in the
                  geographic region used by the claimant due to or resulting from the DWH Spill.

         3.       The Subsistence Claimant definition includes claimants who satisfy the
                  definitions of a Commercial Fisherman and Seafood Crew, provided such
                  claimants satisfy the other elements of the Subsistence Claimant definition and
                  provide the documentation listed below.3

         4.       The Subsistence Claimant definition does not include Recreational Fishermen
                  or Recreational Hunters. “Recreational Fishermen” shall be defined as
                  Natural Persons who fish for pleasure or sport. “Recreational Hunters” shall be
                  defined as Natural Persons who hunt for pleasure or sport. The Subsistence
                  Claimant definition does include claimants who hold a Recreational Fishing
                  license, provided such claimants satisfy the other elements of the Subsistence
                  Claimant definition and provide the documentation listed below.

B.       Compensation

         1.       Identify the time period of loss of subsistence use consistent with the closure or
                  impairment of geographic areas relied upon by the Claimant between April 20,
                  2010 and December 31, 2011.

         2.       Identify the quantity of lost natural resources, including Seafood and Game. This
                  will include quantity of natural resources given to members of Claimant’s
                  extended family unit for their personal consumption or for the purposes of barter.
                  In making the determination, the Claims Administrator must evaluate any lost

1
     “Game” is defined as nutria, mink, otters, raccoons, muskrats, alligators, and other wetlands and coastal
     wildlife.
2
     This definition is derived from various statutory and regulatory sources (e.g., ANILCA, Coast Guard) revised to
     reflect the socio-economic realities of the Gulf Coast ethnic, traditional, and customary subsistence
     communities and individuals.
3
     The definitions of Seafood, Commercial Fisherman and Seafood Crew from the Seafood Distribution Chain
     Definitions document shall apply herein.




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               earnings claim also submitted by the claimant for compensation under the
               Seafood Program to ensure that any in-kind Seafood compensation received by
               the claimant is appropriately allocated between the claimant’s lost earnings and
               subsistence claims. For example, Seafood sold by the claimant, rather than used
               for barter should be allocated toward lost earnings which shall be compensated
               through the Seafood Program.

               a.      Quantity of lost natural resources will be determined based on information
                       provided by the claimant in intake forms and interviews with the Claims
                       Administrator.

               b.      Quantity of lost natural resources will be calculated in, or converted to,
                       measures of consumable retail product by the Claims Administrator.

               c.      Quantities of lost natural resources shall not exceed reasonable
                       consumption rates as determined by the Claims Administrator.

        3.     Calculate the Total Value of Loss of Subsistence Use of Natural Resources by
               multiplying the quantity in pounds by average post-spill retail price or, if
               unavailable, an estimated retail price based on a reasonable proxy. Average post-
               spill retail prices, and any proxies there for, will be determined the Parties based
               on, where available, data on retail prices for Gulf of Mexico natural resources,
               and be subject to approval by the Claims Administration Panel. The Parties shall
               provide a chart of the approved, mutually agreed-upon prices to the Claims
               Administrator for use in calculation of Subsistence claims.

        4.     Claimant will receive a Risk Transfer Premium (“RTP”) of 2.25, in order to
               compensate for factors including value of Subsistence use, including damage to
               subsistence family and community customs and culture.

        5.     Claimant’s compensation pursuant to this Framework For Subsistence Claims
               shall be equal to the sum of (i) the Claimant’s Total Value of Lost Natural
               Resources calculated in B(3) plus (ii) the Claimant’s Total Value of Lost
               Natural Resources multiplied by 2.25.

C.      Documentation Requirements

        The Claimant must provide sufficient information for the Claims Administrator to
        determine (1) that the claimant satisfies the Subsistence Claimant definition and, (2) the
        quantity of Gulf of Mexico natural resources from within the Class Definition
        geographic area lost by the Subsistence Claimant during the time period April 20, 2010
        to December 31, 2011. The required documents shall include:

        1.     The Gulf of Mexico location(s) within the Class Definition geographic area
               where claimant fished or hunted or utilized Gulf of Mexico natural resources
               immediately prior to the oil spill.

                                                 2



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                    a.       Type of documentation: (1) Identification on map and narrative
                             description on claims form; (2) narrative description on claims form of
                             equipment used to fish or hunt; and (3) affidavit verifying location of
                             claimant’s fishing or hunting grounds.

           2.       The location where the claimant fished or hunted or utilized Gulf of Mexico
                    natural resources between April 20, 2010 and December 31, 2011.

                    a.       Type of documentation: Information provided by claimant on claims
                             form.

           3.       Length of time that fishing or hunting areas were closed or impaired as a result of
                    the spill.

                    a.       Type of documentation: Information provided by claimant on claims
                             form, to be confirmed by claims facility by reference to closure maps and
                             other relevant reports.

           4.       Prior to spill, claimant relied upon the fishing or hunting area at issue for
                    subsistence purposes as defined above.

                    a.       Type of documentation: (1) Claimant to specify on claims form number
                             of people in the extended family unit who rely on natural resources caught
                             by the Subsistence Claimant, the specific species and amounts of natural
                             resources relied upon, the percentage of subsistence source that natural
                             resources from closed or impaired areas provided prior to the spill, and (2)
                             a supporting affidavit.4 Following an interview with the claimant,
                             members of the claims administration staff may, at their discretion, require
                             an additional affidavit from a third party or other appropriate supporting
                             information.

           5.       Copy of state and/or federal commercial or recreational fishing and/or hunting
                    license. Deckhands or others that are not required to possess a fishing license are
                    excused from this requirement.

D.         Court-Appointed Distribution Agents Audit Process

           BP, the PSC and the Claims Administrator shall jointly propose a Court-Appointed
           Distribution Agent (“CADA”). Upon approval, the CADA shall work under the direction
           and supervision of the Claims Administrator. The CADA shall establish a dedicated
           team to assist Subsistence claimants in completing the claim form and collecting
           supporting documentation, and will also confirm the eligibility status of the claimants.
           The CADA will conduct subsistence interviews with claimants and apply the
4
    The Parties shall collaborate on a form affidavit for Subsistance Claimants, which shall be subject to approval by
      the Claims Administrator Panel.

                                                            3



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        compensation formula. The CADA team shall establish a physical presence and a
        reasonable operating schedule to allow claimants to be interviewed in their geographical
        area including at Landing Dock locations.

E.      Field Visits

        There is no pre-set cap on payment amounts for Subsistence claims. However, the
        CADA will not pay Subsistence claims with a base amount greater than $10,000 per
        extended family unit without conducting a field visit and investigation as to the accuracy
        of the claim prior to the payment.

F.      RTP

        An RTP of 2.25 shall be applied to the base compensation amount.




                                                 4



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